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AO 91 (Rev. 08/09) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                               District of Columbia
                                                __________     District of __________

                  United States of America                         )
                              v.                                   )
                     Riley June Williams                           )      Case No. 21-mj-99
                                                                   )
                                                                   )
                                                                   )
                           Defendant(s)


                                   CORRECTED AMENDED CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                   January 6, 2021              in the county of                                      in the
                       District of           Columbia          , the defendant(s) violated:

            Code Section                                        Offense Description
18 U.S.C. 1752(a)(1),(2);            Knowingly Entering or Remaining in any Restricted Building or Grounds Without Lawful Authority;
40 U.S.C. 5104(e)(2);                Violent Entry and Disorderly Conduct on Capitol Grounds;
18 U.S.C. §§ 641, 2;                 Aid Abet Others to, Embezzle, Steal, Purloin
18 U.S.C. § 1512(c)(2)               Obstruct, Influence, or Impede any Official Proceeding




         This criminal complaint is based on these facts:
See attached statement of facts.




         ✔ Continued on the attached sheet.
         u



                                                                                              Complainant’s signature

                                                                                      Jonathan M. Lund, Special Agent
                                                                                               Printed name and title

Sworn to before me and signed in my presence.
                                                                                                          2021.01.21
Date:             01/21/2021                                                                              17:24:33 -05'00'
                                                                                                 Judge’s signature

City and state:                         Washington, D.C.                          Robin M. Meriweather, U.S. Magistrate Judge
                                                                                               Printed name and title
